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30-200 ARAM BER IAC sGhpale Any ‘ ini 010
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address): FOR COURT USE ONLY
| James Joseph (SNB 309883)

Jurewitz Law Group
600 B Street, Suite 1450
San Diego, CA 92101

TELEPHONE NO.: (619) 233-5020
ATTORNEY FOR (Name): Arthur Javier
SUPERIOR COURT OF CALIFORNIA, COUNTY OF Orange

STREET ADDRESS: 7()() Civic Center Drive
MAILING ADDREss: 700 Civic Center Drive
city AND ziPcove: Santa Ana 9270]
BRANCH Name: Central Justice Center
CASE NAME:

Javier v. NATIONAL RAILROAD PASSENGER CORPORATION

Faxno: (888) 233-3180

 

 

 

 

 

CIVIL CASE COVER SHEET Complex Case Designation eaten Sek
Unlimited [_] Limitea 30-2021-01178614-CU-PO-Cic
(Amount (Amount [—] Counter LJ Joinder i... . . . . =
demanded demanded is Filed with first appearance by defendant " Judge Theodore Howard
exceeds $25,000) $25,000 or less) (Cal. Rules of Court, rule 3.402) DEPT:

 

 

items 1-6 below must be completed (see instructions on page 2).

 

. Check one box below for the case type that best describes this case:
Auto Tort Contract
Auto (22)
Uninsured motorist (46)

Other PI/PD/WD (Personal Injury/Property
Damage/Wrongful Death) Tort

Asbestos (04)

Product liability (24)

Medical malpractice (45)
Other PI/PD/WD (23)
Non-Pl/PD/WD (Other) Tort
Business tort/unfair business practice (07)
Civil rights (08)
Defamation (13)
Fraud (16)
Intellectual property (1 9)
Professional negligence (25)
Other non-PI/PD/WD tort (35)

Other collections (09)
Insurance coverage (18)
Other contract (37)

Real Property

Eminent domain/Inverse
condemnation (14)

Wrongful eviction (33)
Other real property (26)
Unlawful Detainer
Commercial (31)
Residential (32)
Drugs (38)
Judicial Review
Asset forfeiture (05)

WUOU000

 

Breach of contract/warranty (06)
Rule 3.740 collections (09)

Provisionally Complex Civil Litigation
(Cal. Rules of Court, rules 3.400-3.403)

Antitrust/Trade regulation (03)
Construction defect (10)

Mass tort (40)

Securities litigation (28)
Environmental/Toxic tort (30)

Insurance coverage claims arising from the
above listed provisionally complex case
types (41)

WUUU00

Enforcement of Judgment

Enforcement of judgment (20)
Miscellaneous Civil Complaint
L_] rico 7)

Other complaint (not specified above) (42)
Miscellaneous Civil Petition

Partnership and corporate governance (21)

 

 

 

Employment Petition re: arbitration award (11) Other petition (not specified above) (43)
Wrongful termination (36) [__] writ of mandate (02)
Other employment (15) Other judicial review (39)
2. This case L_] is Lv] isnot complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
factors requiring exceptional judicial management:
a. Large number of Separateiy represented parties d. [] Large number of witnesses
b. CL] Extensive motion practice raising difficult ornovel e. LJ Coordination with related actions pending in one or more courts
issues that will be time-consuming to resolve in other counties, states, or countries, or in a federal court
Cc. Substantial amount of documentary evidence f. | Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): aly | monetary b.[_] nonmonetary; declaratory or injunctive relief —_c. [punitive
4. Number of causes of action (specify): Two (Negligence)
5. This case CJ is isnot aclass action suit.
6

Date: January 13, 2021
James Joseph

>

(TYPE OR PRINT NAME)

. If there are any known related cases, file and serve a notice of related case.

(You may use form CM-015. )

(SIGNATURE OF PARTY ORATTORNEY FOR PARTY)

 

NOTICE
e Plaintiff must file this cover sheet with the first paper filed in

under the Probate Code, Family Code, or Welfare and Instit
in sanctions.
® File this cover sheet in addition
° If this case is complex under rule 3.400
other parties to the action or proceeding

utions Code), (

 

the action or proceeding (

to any cover sheet required by local court rule.
et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all

° Unless this is a collections case under rule 3.740 ora complex case, this cover sheet will be used for sta

except small claims cases or cases filed
Cal. Rules of Court, rule 3.220.) Failure to file may result

tistical purposes orily,
‘age 1 of 2

 

 

Form Adopted for Mandatory Use
Judicial Council of California
CM-010 [Rev. July 4, 2007]

CIVIL CASE COVER SHEET

Cal. Rules of Court, rules 2.30, 3.220, 3.400-3,403, 3.740:
Cal. Standards of Judicial Administration, std. 3.10
www.courtinfo.ca.gov

American LegaiNet, Inc.
www.FormsWorkflow.com
Case 3:21-cv-00424-GPC-KSC Document 1-2 Filed 03/10/21 PagelD.74 Page 2 of 11

CM-010

INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET

To Plaintiffs and Others Filing First Papers.
complete and file, along with your first paper, the
Statistics about the tyoes and numbers of cases

If you are filing a first paper (for example, a complaint) in a civil case, you must
Civil Case Cover Sheet contained on page 1. This information will be used to compile
filed. You must complete items 1 through 6 on the sheet. In item 1, you must check

one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item i

check the more specific one. If the case has multiple ca
To assist you in completing the sheet, examples of the
sheet must be filed only with your initial paper. Failure
its counsel, or both to sanctions under rules 2.30 and 3.

To Parties in Rule 3.740 Collections Cases. A "collections case"
owed in a sum stated to be certain that is not more than $25,000, excl
which property, services, or money was acquired on credit. A collecti
damages, (2) punitive damages, (3) recovery of real property, (
attachment. The identification of a case as a rule 3.740 collection
time-for-service requirements and case management rules, unless
case will be subject to the requirements for service and obtaining aj
To Parties in Complex Cases. In complex cases only,
case is complex. If a plaintiff believes the case is comple
completing the appropriate boxes in items 1 and 2. Ifa pl
complaint cn all parties to the action. A defendant may
plaintiffs designation, a counter-designation that the case

the case is complex.

Auto Tort
Auto (22)—Personal Injury/Property
Damage/Wrongful Death
Uninsured Motorist (46) (if the
case involves an uninsured
motorist claim subject to
arbitration, check this item
instead of Auto)
Other PI/PD/WD (Personal Injury/
Property Damage/Wrongful Death)
Tort

Asbestos (04)

Asbestos Property Damage
Asbestos Personal Injury/
Wrongful Death
Product Liability (not asbestos or
toxic/environmental) (24)

Medical Malpractice (45)

Medical Malpractice—
Physicians & Surgeons

Other Professional Health Care
Malpractice

Other PI/PD/WD (23)

Premises Liability (e.g., slip
and fall)

Intentional Bodily Injury/PD/WD
(e.g., assault, vandalism)

Intentional Infliction of
Emotional Distress

Negligent Infliction of
Emotional Distress

Other PI/PD/WD

Non-PI/PD/WD (Other) Tort

Business Tort/Unfair Business
Practice (07)

Civil Rights (e.g., discrimination,
false arrest) (not civil
harassment) (08)

Defamation (e.g., slander, libel)

(13)

Fraud (16)

Intellectual Property (19)

Professional Negligence (25)
Legal Malpractice
Other Professional Malpractice

(not medical or legal)

Other Non-PI/PD/WD Tort (35)

Employment
Wrongful Termination (36)
Other Employment (15)

CM-010 [Rev. July 1, 2007]

CASE TYPES AND EXAMPLES
Contract
Breach of Contract/Warranty (06)
Breach of Rental/Lease
Contract (not unlawful detainer
or wrongful eviction)
Contract/Warranty Breach—Seller
Plaintiff (not fraud or negligence)
Negligent Breach of Contract/
Warranty
Other Breach of Contract/Warranty
Collections (e.g., money owed, open
book accounts) (09)
Collection Case—Seller Plaintiff
Other Promissory Note/Collections
Case
Insurance Coverage (not provisionally
complex) (18)
Auto Subrogation
Other Coverage

Other Contract (37)
Contractual Fraud
Other Contract Dispute

Real Property

Eminent Domain/Inverse
Condemnation (14)

Wrongful Eviction (33)

Other Real Property (e.g., quiet title) (26)
Writ of Possession of Real! Property
Mortgage Foreclosure
Quiet Title
Other Real Property (not eminent
domain, landiordfenant, or
foreclosure)

Unlawful Detainer

Commercial (31)

Residential (32)

Drugs (38) (if the case involves illegal
drugs, check this item; otherwise,
report as Commercial or Residential)

Judicial Review

Asset Forfeiture (05)

Petition Re: Arbitration Award (11)

Writ of Mandate (02)
Writ-Administrative Mandamus
Writ-Mandamus on Limited Court

Case Matter
Writ-Other Limited Court Case
Review

Other Judicial Review (39)

Review of Health Officer Order
Notice of Appeal~Labor
Commissioner Appeals

CIVIL CASE COVER SHEET

to file a cover sheet with the first
220 of the California Rules of Court.

under rule 3.740 is defined as an action for recovery of money
usive of interest and attorney's fees, arising from a transaction in
ons case does not include an action seeking the following: (1) tort
4) recovery of personal property, or (5) a prejudgment writ of
S case on this form means that it will be exempt from the general
a defendant files a responsive pleading. A rule 3.740 collections
udament in rule 3.740.

parties must also use the Civil Case Cover Sheet to designate whether the
x under rule 3.400 of the California Rules of Court, this must be indicated by
aintiff designates a case as complex. the cover sheet must be served with the
file and serve no later than the time of its first appearance a joinder in the
is not complex, or, if the plaintiff has made no designation, a designation that

uses of action, check the box that best indicates the primary cause of action.
cases that belong under each case type in item 1 are provided below. A cover
paper filed in a civil case may subject a party,

Provisionally Complex Civil Litigation (Cal.
Rules of Court Rules 3.400—3.403)

Antitrust/Trade Regulation (03)
Construction Defect (10)
Claims Involving Mass Tort (40)
Securities Litigation (28)
Environmental/Toxic Tort (30)
Insurance Coverage Claims
(arising from provisionally complex
case type listed above) (41)
Enforcement of Judgment
Enforcement of Judgment (20)
Abstract of Judgment (Out of
County)
Confession of Judgment (non-
domestic relations)
Sister State Judgment
Administrative Agency Award
(not unpaid taxes)
Petition/Certification of Entry of
Judgment on Unpaid Taxes
tet Enforcement of Judgment
ase

Miscellaneous Civil Complaint
RICO (27)
Other Complaint (not specified
above) (42)
Declaratory Relief Only
Injunctive Relief Only (non-
harassment)
Mechanics Lien
Other Commercial Complaint
Case (non-tort/non-complex)
Other Civil Complaint
(non-tort/non-complex)
Miscellaneous Civil Petition
Partnership and Corporate
Governance (21)
Other Petition (not specified
above) (43)
Civil Harassment
Workplace Violence
Elder/Dependent Adult
Abuse
Election Contest
Petition for Name Change
Petition for Relief From Late
Claim
Other Civil Petition

Page 2 of 2
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30-2050 Be - BSA 4 - DAVID H. YAMASAKI, nee yahte By Dominique Carr, Deputy Clark,

 

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a AUN one ‘AL) (sor GOUT USE ONLY
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):

NATIONAL RAILROAD PASSENGER CORPORATION, a for-profit
corporation; and DOES | through 100, inclusive,

YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):

ARTHUR JAVIER

 

 

NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.

You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A ietter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www. courtinfo.ca.gov/selfhelp), your county jaw library, or the courthouse nearest you. If you cannot pay the filing fee, ask
the court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property
may be taken without further warning from the court.

There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www. lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www. courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a Statutory lien for waived fees and
costs on any settlement or arbitration award of $1 0,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
iAVISO! Lo han demandado. Sino responde dentro de 30 dias, la corte puede decidir en su contra sin escuchar su version. Lea la informacion a
continuaci6n.

Tiene 30 DIAS DE CALENDARIO después de que le entreguen esta citacién y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefonica no Io protegen. Su respuesta por escrito tiene que estar

pagar el gravamen de la corte antes de que la corte pueda desechar el caso.

The name and address of the court is: . CASE NUMBER:
(El nombre y direccion de la corte es): Orange County - Central Justice Center 30-2021-011786 14-CU-PO-CIC

700 Civic Center Drive, Santa Ana, CA 92701

 

 

 

 

 

Judge Theodore Howard

The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is:
El nombre, la direccién y el nimero de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):

 

 

 

 

 

James Joseph, JUREWITZ LAW GROUP; 600 B St., Ste 1450, San Diego, CA 92101: 619-233-5020 4
O1/13/202 1 BY,

DATE: Clerk, by | J , Deputy

(Fecha) DAVID H. YAMASAKI, Clerk of the Court (Secretario) Le (Adjunto)

(For proof of service of this summons, use Proof of Service of Summons (form POS-010).) ~ “5

(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)). Dominique Carr

NOTICE TO THE PERSON SERVED: You are served
1. [] as an individual defendant.
2. [__] as the person sued under the fictitious name of (specify):

3, L_] on behalf of (specify):

under: L_] ccp 416.10 (corporation) [-] CCP 416.60 (minor)
[] CCP 416.20 (defunct corporation) [_] CCP 416.70 (conservatee)
[-] CCP 416.40 (association or partnership) [—_] CCP 416.90 (authorized person)

[] other (specify):
4. [_] by personal delivery on (date):

 

 

 

Form Adopted for Mandatory Use SUM Page 1 of 1
Judicial Council of California MONS Code of Civil Procedure §§ 412.20, 465
SUM-100 [Rev. July 1, 2009) www. courtinfo.ca.gov

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www.FormsWorkflow.com
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SUPERIOR COURT OF CALIFORNIA

COUNTY OF ORANGE

 

Superior Court of California, County of Orange

700 W. Civic Center Drive
Santa Ana, CA 92702

E-Filing Transaction#: 1802648

. PAYMENT RECEIPT
Receipt#: 12658765

12831442 Transaction Date: 04/13/2021 Transaction Time: 02:40:14 PM

   

Clerkid: d2carr Transaction No:

 

 

30-2021-01178614-CU-PO-CJC 194 - Complaint or other 1st paper 1 $435.00 $435.00 $435.00 $0.00
Sales Tax: $0.00
Total
Total: $435.00 Rem.
Bal:
E-Filing : - OneLegal
E-Filing: $435.00

Total Amount Tendered: $435.00

Change Due: $0.00

Balance: $0.00

A $45 fee may be charged for each returned check, electronic funds transfer or credit card payment.

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Se 3:21-cv-00424-GPC-KSC Document 1-2 Filed 03/10/21 PagelD.77 Page 5of11

James Joseph (SBN 309883)

Jurewitz Law Group
600 B Street, Suite 1450
San Diego, CA 92101
Tel: (619) 233-5020
Fax: (888) 233-3180

Attorneys for Plaintiff,
ARTHUR JAVIER

SUPERIOR COURT OF CALIFORNIA
COUNTY OF SAN DIEGO, CENTRAL DIVISION

Unlimited Civil
Case No.: 30-2021-01178614-CU-PO-cjc

COMPLAINT

Assigned for All Purposes
Judge Theodore Howard

ARTHUR JAVIER, an individual, }
Plaintiff, }

)

VS. )
)

NATIONAL RAILROAD PASSENGER
CORPORATION, a for-profit corporation; and )
DOES | through 100, inclusive, )
)

)

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)

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Defendants.

 

Plaintiff ARTHUR JAVIER, an individual, respectfully alleges as follows:
PARTIES
ihe Plaintiff ARTHUR JAVIER (“Plaintiff”) is, and at all times herein
mentioned, was a resident of the City of Chula Vista, County of San Diego, State of California.
2. Defendant NATIONAL RAILROAD PASSENGER CORPORATION (“NRPC”) is a
for-profit corporation. Its registered address is 1 Massachusetts Avenue, NW, Amtrak Law Department,
5th Rp loor, Washington, District of Colombia, 20001. Plaintiff is informed and believes and thereon

alleges that it oversees, manages, and exercises control over California coastal Amtrak.

 

 

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3. Plaintiff is ignorant of the true names and capacities of defendants sued herein as DOES
| through 50 (the “Train Doe Defendants”) therefore sues these Defendants by such fictitious names.
Plaintiff will amend this complaint to insert their true names and capacities when ascertained. Plaintiff
is informed and believes and thereon alleges that each of these fictitiously named Defendants is legally
responsible for the events and happenings referred to herein, and legally caused injuries and damages
thereby to Plaintiff as herein alleged. Plaintiff's injurics as hereinafter alleged were proximately caused
by the acts of such Defendants, and each of thems.

4, Plaintiff is ignorant of the true names and capacities of defendants sued herein as DOES
51 through 100 (the “Construction Doe Defendants”) therefore sues these Defendants by such fictitious
names. Plaintiff will amend this complaint to insert their true names and capacities when ascertained.
Plaintiff is informed and believes and thereon alleges that each of these fictitiously named Defendants is
legally responsible for the events and happenings referred to herein, and legally caused injuries and
damages thereby to Plaintiff as herein alleged. Plaintiff's injuries as hereinafter alleged were
proximately caused by the acts of such Defendants, and each of them.

Bi NRPC, Train Doe Defendants and Construction Doe Defendants, shall be collectively
referred to as “Defendants” hereafter.

6. Plaintiff is informed and believes and on that basis alleges that at all times herein
mentioned, each of the Defendants was the agent and employee of the remaining Defendants, and was
acting within the scope and purpose of such agency and employment in doing the acts herein alleged.

JURISDICTION AND VENUE

7. This litigation arises out of or is connected with the Defendant’s activities within the

State of California.
8. The incident complained of occurred on the Common Carrier, just north of the San Juan
Capistrano train station.
GENERAL ALLEGATIONS
9. On or about August 15, 2019, Plaintiff was riding on a passenger train, operated by

NRPC and Train Doe Defendants. Plaintiff was properly seated accordingly rules and regulations for

 

COMPLAINT
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passengers onboard the train. Suddenly the train came to an abrupt halt without warning. Plaintiff was
then violently thrust about his seat, causing him to sustain injuries.

10. Plaintiff later learned that Construction Doe Defendants were performing work on or near
the tracks of the train. Plaintiff is informed and believes and thereon alleges that Construction Doe
Defendants’ work interfered with the normal operation of the train.

FIRST CAUSE OF ACTION
Negligence
(Against NRPC and Train Doe Defendants)

1. Plaintiff incorporates the allegations set forth above as though set forth fully herein.

2» NRPC and Train Doe Defendants had a duty of care to Plaintiff.

3 NRPC and Train Doe Defendants, by and through their operation of the train, failed to
use reasonable care when operating the train. Specifically, they:

a. Failed to safely operate the train;
b. Failed to provide warning to all passengers when an unscheduled/emergency stop
occurred; and

4, NRPC and Train Doe Defendants are a common carrier as defined in California Civil
Code section 2168 (or agents of a common carrier) because they (a) provide transportation services to
the public; (b) advertise their transportation services to the general public; and (c) collected fees from
passengers, including Plaintiff, to travel on the train.

5. As a common carrier, NRPC and Train Doe Defendants must use the highest care and the
vigilance of a very cautious person. They must do all that human care, vigilance, and foresight
reasonably can do under the circumstances to avoid harm to passengers. They must use reasonable skill
to provide everything necessary for safe transportation, in view of the transportation used and the
practical operation of the business.

6. NRPC and Train Doe Defendants, and each of them, breached their duty to Plaintiff, in
failing to act reasonably, and with due care, in keeping, maintaining, operating, and controlling the train
in a reasonable and safe condition, which would not create a serious danger to persons on the common

carrier, including Plaintiff.

 

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7. As a proximate result of the negligence and carelessness of NRPC and Train Doe
Defendants, and each of them, and the resulting incident as above alleged, Plaintiff was injured in his
health, strength, and activity, sustaining severe injury to his body, all of which have caused and continue
to cause him great mental and physical pain and suffering. Plaintiff is informed and believes and on that
basis alleges, that the injuries will result in some permanent disability to Plaintiff, all to his damage in
amounts which will be shown according to proof.

8. As a further proximate result of the ee and carelessness of NRPC and Train Doe
Defendants, and each of them, Plaintiff was required to employ, and continues to employ, physicians to
examine, treat and care for him, and did and continues to incur medical and incidental expenses which

will be shown according to proof.

SECOND CAUSE OF ACTION

Negligence
(Against Construction Doe Defendants)
1. Plaintiff incorporates the allegations set forth above as though set forth fully herein.
a Construction Doe Defendants had a duty of care to Plaintiff.
3. Construction Doe Defendants, by and through their operation of construction, failed to

use reasonable care in notifying the train of their impact to the common carrier’s path. Specifically, they:
a. Failed to perform their work so as to not interfere with the train; and
b. Failed to notify the train of any work that would interfere with the train;

4, Construction Doe Defendants, and each of them, breached their duty to Plaintiff, in
failing to act reasonably, and with due care, in keeping, maintaining, operating, and controlling the
construction grounds in a reasonable and safe condition, which would not create a serious danger to
persons on the train, including Plaintiff.

a As a proximate result of the negligence and carelessness of Construction Doe
Defendants, and each of them, and the resulting accident as above alleged, Plaintiff was injured in his
health, strength, and activity, sustaining severe injury to his body, all of which have caused and continue

to cause him great mental and physical pain and suffering. Plaintiff is informed and believes and on that

 

COMPLAINT
-4-

 
Case 3:21-cv-00424-GPC-KSC Document 1-2 Filed 03/10/21 PagelD.81 Page 9 of 11

1 || basis alleges, that the injuries will result in some permanent disability to Plaintiff, all to his damage in
2 || amounts which will be shown according to proof.

3 6. As a further proximate result of the negligence and carelessness of Construction Doe

4 || Defendants, and each of them, Plaintiff was required to employ, and continues to employ, physicians to
5 |/ examine, treat and care for him, and did and continues to incur medical and incidental expenses which

6 || will be shown according to proof.

 

 

7 PRAYER FOR RELIEF

8 WHEREFORE, Plaintiff prays for judgment as follows:

9 1. For general damages according to proof;

10 2. For special damages for medical and incidental expenses according to proof;
11 3, For costs of suit herein incurred;

12 4, For pre-judgment interest as provided by law; and

13 5. For such other and further relief as the court may deem proper.
" DEMAND FOR JURY

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Plaintiff hereby requests a trial by jury for this matter.

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ig Dated: January 13, 2021 JUREWITZ LAW GROUP
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21 JAMES JOSEPH
» Attorney for Plaintiff
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COMPLAINT
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FOR COURT USE ONLY
SUPERIOR COURT OF CALIFORNIA, COUNTY OF ORANGE

STREET ADDRESS: 700 W. Civic Center Drive
MAILING ADDRESS: 700 W. Civic Center Drive
CITY AND ZIP CODE: SantaAnaCA 92701
BRANCH NAME: Central Justice Center

 

 

SHORT TITLE: JAVIER vs. NATIONAL RAILROAD PASSENGER CORPORATION

 

CASE NUMBER:
30-2021-01178614-CU-PO-CJC

NOTICE OF CONFIRMATION OF ELECTRONIC FILING

 

 

 

The Electronic Filing described by the below summary data was reviewed and
accepted by the Superior Court of California, County of Orange. In order to
process the filing, the fee shown was assessed.

Electronic Filing Summary Data

Electronically Submitted By: ARTHUR JAVIER

On Behalf of: ARTHUR JAVIER; CCMS ID: 79170190

Transaction Number: 1802648

Court Received Date: 01/13/2021

Court Received Time: 01:38:50 PM

Filed Date: 01/13/2021

Filed Time: 01:38 PM

Fee Amount Assessed: $435.00

Case Number: 30-2021-01178614-CU-PO-CJC

Case Title: JAVIER vs. NATIONAL RAILROAD PASSENGER
CORPORATION

Location: Central Justice Center

Case Type: PI/PD/WD - Other

Case Category: Civil - Unlimited

Jurisdictional Amount: > 25000

 

01/13/2021 NOTICE OF CONFIRMATION OF FILING
Case 3:21-cv-00424-GPC-KSC Document 1-2 Filed 03/10/21 PagelD.83 Page 11 of 11

Case Title:

Documents Electronically Filed/Received Status

Complaint Accepted
Civil Case Cover Sheet Accepted
Summons Issued and Filed Accepted

Court Generated Documents
Payment Receipt

Comments
Submitter's Comments:

Clerk's Comments: Alternative Dispute Resolution (ADR) Information Package
can be found on the Court public website or by entering the
following information in your internet explorer search:
http:/Awww.occourts.org/forms/local/I1200.pdf

Electronic Filing Service Provider Information

Service Provider OneLegal

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